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                 IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,                   CR. NO. 21-00061 LEK

             Plaintiff,                     CERTIFICATE OF SERVICE

      vs.

MARTIN KAO,

             Defendant.

                          CERTIFICATE OF SERVICE
      The undersigned hereby certifies that, on the date noted below, a copy of the

foregoing document was duly served on the following parties via CM/ECF:


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     DATED: Honolulu, Hawaii, March 23, 2023.

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